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13
14                          UNITED STATES DISTRICT COURT
15                     SOUTHERN DISTRICT OF CALIFORNIA
16    IMPACT ENGINE, INC.,         ) CASE NO. '19CV1301 LAB BGS
                                   )
17             Plaintiff,          ) COMPLAINT
                                   )
18        v.                       ) DEMAND FOR JURY TRIAL
                                   )
19    GOOGLE LLC,                  )
                                   )
20             Defendant.          )
                                   )
21
                                         COMPLAINT
22
23         1.    Plaintiff Impact Engine, Inc. (“Impact Engine”) is a technology company
24   based in San Diego, California. Impact Engine was founded to solve a systemic problem
25   facing the online display advertising industry: how to create a unique, relevant ad and
26   experience for each ad viewer and each ad view without incurring massive costs in
27   advertising production, delivery, internet bandwidth consumption, and content updates.
28
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1
           2.      Impact Engine’s programmatic media-rich advertisement generation
2
     invention unlocked what was referred to internally as the “Impact Effect” (today identified
3
     by the advertising industry as “Programmatic Creative”).            The “Impact Effect”
4
     simultaneously overcame multiple obstacles by making media-rich display advertising
5
     online an attractive product to buy for the advertiser, a relevant experience for the ad
6
     viewer, and one that conserved vital internet bandwidth resources. Realizing that its
7
     innovations were truly groundbreaking, Impact Engine sought and obtained patent
8
     protection.
9
           3.      At the same time, Google LLC (“Google”) was struggling to diversify its
10
     revenue base and began to realize that Impact Engine’s ideas were integral to its future
11
     success. Over the course of two years, Google invited Impact Engine to multiple meetings
12
     at its Mountain View headquarters, required Impact Engine to provide prototypes,
13
     documentation, and source code, and falsely promised a cooperative partnership to bring
14
     Impact Engine’s ideas to Google’s larger platform.
15
           4.      Rather than consummate a partnership, Google decided instead to copy
16
     Impact Engine’s ideas and work product. Through its persistent, unlicensed use of Impact
17
     Engine’s inventions, Google extracted billions of dollars in revenue from advertisers,
18
     website publishers, and advertising agencies. As a result of Google’s brazen, willful
19
     infringement, Impact Engine has been forced to compete against its own technology.
20
           5.      Google’s actions left the dedicated and hard-working employees of Impact
21
     Engine with no options other than litigation. Impact Engine now brings this lawsuit to hold
22
     Google accountable for its willful patent infringement.
23
                                    NATURE OF THE CASE
24
           6.      Impact Engine brings claims under the patent laws of the United States, 35
25
     U.S.C. § 1, et seq., for the willful infringement of multiple patents, which include U.S.
26
     Patent Nos. 7,870,497; 8,356,253; 8,930,832; 9,361,632; 9,805,393; and 10,068,253
27
     (“Patents-in-Suit”).
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1
                                             PARTIES
2
            7.    Impact Engine is a Delaware company with a principal place of business at
3
     11772 Sorrento Valley Rd. Ste. 170, San Diego, CA 92121. All of Impact Engine’s
4
     employees reside in San Diego, California.
5
            8.    Defendant Google LLC (“Google”) is a Delaware limited liability company
6
     with a principal place of business at 1600 Amphitheatre Parkway, Mountain View,
7
     California 94043.
8
                                 JURISDICTION AND VENUE
9
            9.    The Court has subject matter jurisdiction over this action pursuant to 28
10
     U.S.C. §§ 1331 and 1338.
11
            10.   The Court has personal jurisdiction over Google because it has, either directly
12
     or through intermediaries, conducted business in this District by shipping, distributing,
13
     offering for sale, selling, and advertising (including the provision of an interactive web
14
     page) their products and services in both the State of California and this District. Google
15
     has, either directly or through intermediaries, purposefully and voluntarily placed one or
16
     more of their infringing products and/or services into the stream of commerce with the
17
     intention and expectation that they will be purchased and used by consumers in this
18
     District.
19
            11.   Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because
20
     Google regularly conducts business within this District, has a regular and established place
21
     of business in this District, and has committed acts of infringement within this District.
22
     Google’s regular and established place of business in this District is located at 6420
23
     Sequence Dr., San Diego, CA 92121. This office consists of nearly 60,000 square feet of
24
     office space and houses hundreds of workers.         Upon information and belief, these
25
     employees are working on hardware and software to further enable Programmatic Creative.
26
27
28

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1
                                          BACKGROUND
2
           12.    Impact Engine has invested tens of millions of dollars and almost two decades
3
     of work into innovations that have transformed the online advertising industry.
4
     Specifically, Impact Engine’s patented technologies have significantly reduced operating
5
     costs for millions of advertisers, and have enabled online display advertising spending of
6
     hundreds of billions of dollars. Impact Engine filed its first patent application on April 13,
7
     2005 describing its revolutionary technology. This technology enabled advertisers to reach
8
     each ad viewer with a media-rich advertisement containing messaging and content tailored
9
     to that individual. Today, Impact Engine’s breakthrough technology is what is known in
10
     the advertising industry as “Programmatic Creative.”
11
           13.    Impact Engine’s co-founders and two of the three co-inventors of the Patents-
12
     in-Suit, Neil Greer (Chief Executive Officer) and Bryan Depew (Vice President of Product
13
     Development), have been crucial to Impact Engine’s innovations and operations. Neil and
14
     Bryan have been developing, releasing, and scaling product lines together since 2001. To
15
     fund these innovations, Impact Engine engaged in highly successful sales and marketing,
16
     ran efficient internal operations, forwent capital distributions, and re-invested all revenues.
17
     Neil and Bryan’s personal sacrifices and capital investments, along with those of their
18
     family and friends, enabled Impact Engine’s research and development efforts. Thanks to
19
     this ingenuity and sacrifice, Impact Engine was the first company to bring Programmatic
20
     Creative to the online advertising industry.
21
           14.    Prior to meeting Impact Engine, Google was struggling to find a pathway to
22
     sustained growth beyond its Google.com search engine product. The market openly
23
     questioned the long-term ability of “pay-per-click” text advertising revenue to support the
24
     already lofty stock price of a company whose only product was a search engine.
25
           15.    In an attempt to provide scale to its revenues beyond pay-per-click text
26
     advertising, Google released AdSense, a network for connecting online display advertisers
27
     with website publishers looking to monetize unsold ad space on their websites.
28

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1
           16.    The advertising industry was unimpressed with AdSense and the poor
2
     performance of the ads it allowed. AdSense frustrated the advertising industry (including
3
     advertisers, advertising agencies, designers, and website publishers) by restricting
4
     creativity and driving up the costs of doing business. AdSense forced advertisers and
5
     designers to provide online display advertising in a rudimentary, static, image-based file
6
     format that could neither be edited nor updated by the AdSense platform. AdSense was
7
     also unappealing to ad viewers as the ads lacked creativity, were generic, and quickly
8
     became outdated. The low-quality ads generated through AdSense did not create an
9
     acceptable return for the advertiser and diminished the value of the website publisher’s
10
     content. This lack of return on investment, in turn, drove down the price advertisers would
11
     pay to place an ad. As a result, advertisers, designers, and advertising agencies voiced
12
     widespread criticism of the limitations of the online display advertising capabilities of the
13
     AdSense platform.
14
           17.    Unlike AdSense, Impact Engine’s platform provided the industry’s first
15
     Programmatic Creative solution. The Impact Engine platform included tools for rapidly
16
     generating dynamic, media-rich advertisements. Once generated, these dynamic ads could
17
     be broadcast to, and formatted for, ad viewers regardless of their viewing device.
18
     Additionally, the ad content could be updated almost instantaneously even after the ads
19
     were live.   Google recognized its failing AdSense product needed Impact Engine’s
20
     revolutionary platform and thus engaged in repeated and ongoing discussions with Impact
21
     Engine.
22
           18.    Not only did Impact Engine bring programmatic, media-rich, device-agnostic,
23
     display advertising to the market, Impact Engine created a platform that allowed for an
24
     unlimited number of generated advertisements running on separate websites to be updated
25
     in a targeted and frequent manner. This opened the revolutionary pathway for users to
26
     generate dynamic advertisements, advertisers to profit from their online display ad
27
     spending, and industry revenue from online display advertising to grow exponentially.
28

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1
                                 INTERACTIONS WITH GOOGLE
2
            19.   Recognizing the possibility of collaboration, in mid-2005 Impact Engine and
3
     Google connected.
4
            20.   Immediately prior to Google and Impact Engine meeting, Megan Smith, then
5
     Google’s Head of Corporate Development, expressed to Neil that she was considering the
6
     possibility of partnering with Impact Engine. Neil sent Ms. Smith a marketing brief setting
7
     forth Impact Engine’s history, state of company operations, vision of the role of
8
     Programmatic Creative in online communications, and a proposal for making that vision a
9
     reality.
10
            21.   In the fall of 2005, Impact Engine first met with Google. This meeting
11
     involved, inter alia, Neil, Bryan, and Ms. Smith. This meeting took place at Google’s
12
     headquarters in Mountain View, California. Neil’s presentation on Impact Engine’s
13
     innovations left Ms. Smith impressed. In fact, after the meeting ended, she took the Impact
14
     Engine team on a tour of the executive wing of Google headquarters and showed off other
15
     products including Google Earth. As a result of this meeting, Ms. Smith put Neil in contact
16
     with one of Google’s product group directors to explore Impact Engine’s technology
17
     further.
18
            22.   During the end of 2005 and throughout 2006, Impact Engine focused on
19
     making Programmatic Creative for display advertising online a reality. The result was
20
     Flash Ad Engine. This product was a first-of-its-kind offering that was rapidly adopted by
21
     advertisers and website publishers. The hard-to-please designer community concurrently
22
     supported the product and helped spread the word of its arrival. Business was thriving with
23
     a customer and prospect list of high-profile companies that quickly grew into the thousands
24
     across the United States and the world.
25
            23.   Flash Ad Engine enabled small and large advertisers (and website publishers
26
     alike) to fully participate in the benefits of display advertising online. Specifically, where
27
     Google AdSense only allowed advertisers access to low-impact, static, image-based ads,
28

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1
     Flash Ad Engine enabled advertisers and designers to access a platform for creating media
2
     rich ad experiences that were far more engaging to ad viewers. Through the magic of the
3
     Impact Effect, generated by its Programmatic Creative invention, media-rich ads created
4
     with Flash Ad Engine loaded quickly on the screen and conserved vital internet bandwidth
5
     resources at the same time. Further, Flash Ad Engine presented the experienced and non-
6
     technical designer alike with a suite of interactive functionalities that made building and
7
     generating media-rich advertisements as simple as “point-and-click.” Additionally, Impact
8
     Engine’s company vision and product roadmap for its inventions was crafted with a broad,
9
     global vision that was not limited to ad designers. It also included a multi-distribution
10
     platform with an interface that designers, ad agencies, ad networks, and website publishers
11
     could access and use to build their own templates and media assets, among a multitude of
12
     other features.
13
           24.    In early 2007, after Impact Engine had garnered a nationwide customer base
14
     (in only 9 months since the launch of Flash Ad Engine), Google and Impact Engine
15
     reconnected. Since the first meeting, AdSense had continued to underperform in the
16
     marketplace, and industry backlash was at its zenith. Advertisers, ad agencies, and
17
     designers across the industry were demanding a more creative and expressive graphical ad
18
     building platform. Fortunately, Impact Engine and its visionary team was there to meet
19
     their needs. But Google needed to better understand the technological advancements
20
     Impact Engine had made in the Programmatic Creative space. Google’s executives were
21
     trailing the online display advertising marketplace and needed a partner to help them
22
     understand a viable, scalable path forward. Under this mounting industry pressure, Google
23
     invited Impact Engine to disclose its approach to the market, the details of its product
24
     offerings, and its market experience.
25
           25.    Again, Impact Engine and Ms. Smith spoke about the opportunity of a
26
     partnership. This time, she scheduled a meeting between Neil and Jill Szuchmacher,
27
     Google’s Principal of New Business Development. Ms. Szuchmacher invited additional
28

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1
     Google personnel to the meeting as well. The first 2007 meeting was held at Google
2
     headquarters.   The meeting involved an initial discussion of the display and video
3
     advertising challenges facing Google as well as Impact Engine’s capabilities and its
4
     Programmatic Creative invention. The discussion was lively and Google was eager to
5
     continue the relationship with Impact Engine. After that initial meeting, Ms. Szuchmacher
6
     reached out to schedule a second meeting, again at Google headquarters, but this time with
7
     Google product development executives having senior decision-making capacity.
8
           26.   Prior to this second meeting, Impact Engine sent multiple confidential
9
     memoranda to Ms. Szuchmacher presenting the successful and proprietary Flash Ad
10
     Engine. By this time, Flash Ad Engine serviced a nationwide customer base of website
11
     publishers including privately owned newspapers, television and radio stations, and
12
     publicly traded media conglomerates. The first memorandum, sent in February 2007,
13
     described Impact Engine’s capabilities, market vision, and patent-pending innovations.
14
     This memorandum characterized the needs in the online display advertising field and
15
     detailed Impact Engine’s approach to meeting those needs via Programmatic Creative
16
     advertising. It described in detail how the Flash Ad Engine advertising platform functioned
17
     and how it achieved such swift adoption in the marketplace. Further, it outlined Impact
18
     Engine’s role as the originator and inventor of Programmatic Creative.
19
           27.    As a condition to continuing discussions, Google required Impact Engine to
20
     develop a Google-specific prototype and share source code. Ms. Szuchmacher instructed
21
     Neil on the specific deliverables required in advance of the second 2007 meeting, which
22
     together amounted to a significant development effort tailored specifically to Google. The
23
     deliverables were required in six weeks’ time. Ms. Szuchmacher even acknowledged in
24
     writing that Google was highly interested in Impact Engine and was working toward a
25
     collaboration strategy to allow Impact Engine to improve Google’s AdSense product and
26
     network. In response, Impact Engine pooled all available resources and re-tasked all team
27
28

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1
     members to design and produce the working prototype that would revolutionize the Google
2
     advertising platform.
3
           28.      It was a monumental task. Neil put a halt on all new product and feature
4
     development, reprioritizing Impact Engine’s new products and innovation team to develop
5
     a dynamic advertisement building platform specifically catered to Google. By this time,
6
     Impact Engine had grown to a team of over 30 and had successfully launched two products
7
     in the advertising technology space. Development of Impact Engine’s confidential new
8
     platform product (dubbed “ImpactEngine.com”), the Company’s largest effort to date, was
9
     put on hold.
10
           29.      Google was applying extreme pressure on Impact Engine, treating Impact
11
     Engine as an extension of its organization.       Google was particularly interested in
12
     understanding the details behind Programmatic Creative, including data enabled video
13
     templates, keyword templates, and geo-location enabled templates.
14
           30.      The materials and progress Google demanded in the short six-week period
15
     were extensive.     Further, Ms. Szuchmacher required fully coded ad templates and
16
     specifications for advertisement generation to be completed two weeks early.        Ms.
17
     Szuchmacher told Neil that she wanted this information to fast-track the meeting. To do
18
     so, she needed executives she called “Key Product Decision Makers” to be on board and
19
     to review Impact Engine’s work product in advance of the meeting.
20
           31.      As requested, Impact Engine provided Google with the requested work
21
     product in four weeks. This work product included a second memorandum containing in-
22
     depth disclosures, creative samples, source code, and production documents.
23
           32.      To complete all required deliverables, Impact Engine’s entire development
24
     team was required to grind away in a six-week “sprint” to complete the work product in
25
     accordance with Google’s specifications. And Impact Engine met the deadline. To do so,
26
     Impact Engine’s development team collectively labored for over two thousand hours.
27
     Google paid nothing for this work.
28

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1
           33.    The cash and opportunity cost for Impact Engine to put its own product
2
     development efforts on hold was substantial. The “ImpactEngine.com” product was an
3
     industry-first hosted Programmatic Creative advertising platform where dynamic, media-
4
     rich advertisements could be generated on the fly. In this system, an advertiser could create
5
     a single ad campaign that could yield an unlimited number of custom variations. Millions
6
     of display ads could easily be deployed and edited while running live on each ad viewer’s
7
     screen without having to be completely re-fabricated or taken down for editing. An
8
     additional benefit was that the advertisements could be easily broadcast, regardless of the
9
     display configurations of the receiving device, and rapidly rendered on mobile devices and
10
     desktop computers alike in a visually appealing, relevant form. This contrasted greatly
11
     with Google’s existing AdSense platform, where the only transmittable file was static and
12
     had to be fully downloaded and rendered to be viewed on each and every website, from
13
     scratch, for each ad viewer; an incredibly restrictive and resource-intensive undertaking.
14
           34.    Through its in-development “ImpactEngine.com” product, Impact Engine had
15
     created the industry’s first programmatic creative advertisement generation system with
16
     rapid editing on a global scale for use by advertisers, designers, ad agencies, and website
17
     publishers with accessibility to technically and non-technically adept users alike.
18
           35.    The final meeting with Google took place in April 2007, during which Neil
19
     presented a real-time demonstration of a working model to Ms. Szuchmacher and the Key
20
     Product Decision Makers. Upon viewing this presentation, Google appeared awestruck.
21
           36.    The two senior Key Product Decision Makers at the meeting were part of
22
     Google’s new product development team. These individuals were believed to be tasked
23
     with identifying new areas of opportunity and implementing products of high strategic
24
     importance, including what would eventually be called the Google Display Ad Builder.
25
     Neil walked them through the key features of the system. He showed them how to use the
26
     graphical interface, where the code was, how the code integrated the data calls into the
27
     advertisement, how the advertisement was sent out to the publisher website and how it was
28

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1
     broadcast on the edge. The deeper Neil went into describing Impact Engine’s proprietary
2
     technology, the more these two Key Product Decision Makers seemed to become
3
     uncomfortable. In the middle of this presentation, the two senior Key Product Decision
4
     Makers abruptly left the room. The meeting was over.
5
           37.    Impact Engine later followed up multiple times in an attempt to continue the
6
     relationship, but was left in the dark.
7
           38.    Eighteen months after this April 2007 meeting, Google released the first
8
     iteration of its competing product, dubbed “Display Ad Builder.”
9
           39.    Despite the fact that Display Ad Builder was based upon the work product
10
     Impact Engine had provided confidentially and with various intellectual property
11
     protections, Google released this product as its own. The news of this release and its impact
12
     on Google’s revenue was proudly posted online. In the months following this release, and
13
     repeatedly thereafter, Google passed off Impact Engine’s invention as something it had
14
     invented anew and touted the product’s exportation overseas to over 100 countries.
15
           40.    In    a   May      12,   2009    blog    post    (still   residing   online    at
16
     https://adsense.googleblog.com/2009/05/what-display-ad-builder-means-for.html),
17
     Google states that:
18
           “Since its launch, the Display Ad Builder has been extended to advertisers in over
19
           100 countries and 40 languages.         With over 90 customizable templates and
20
           thousands of active users of all sizes, the Display Ad Builder has quickly become
21
           what we believe is the largest platform for self-serve display ad creation on the web.
22
           Its usage varies from the largest digital agency, like Razorfish, to smaller advertisers
23
           like the Wilshire Grand Los Angeles. We’d like to take a few minutes to tell you
24
           more about the impact of this tool and how it can benefit you as a publisher:
25
           More advertisers creating display ads: In just six months, the Display Ad Builder
26
           has significantly increased the number of AdWords advertisers using image-based
27
           ads. Many of these advertisers were already advertising with text ads on Google.com
28

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1
           and AdSense sites, but have now found the visual elements, interactivity, and
2
           animations of display ads to be effective at increasing clicks, conversions, and
3
           overall ROI.
4
           Higher quality, more relevant display ads for your site: With simplified display
5
           ad creation now available to advertisers of all sizes and industries, the display ads
6
           that show on your site are likely to be even more relevant to your content and
7
           audience. For sites with niche content or with an advertiser base that would be less
8
           likely to have the budgets to invest in display ad creation, this is especially true. The
9
           templates that we offer also vary well beyond simple static banners, including
10
           interactive rich media templates that allow users to scroll between or roll over
11
           multiple product images, in addition to multiple templates with animated text and
12
           images.
13
           Higher potential earnings: As the reach of ads created with Display Ad Builder
14
           grows, we’ve seen encouraging results -- ads created with the Display Ad Builder
15
           have average click-through rates that outperform industry averages. We believe that
16
           this is due to the combination of advanced contextual targeting on AdSense,
17
           combined with templates that encourage best practices in effective display ad
18
           creation. We’ve also heard from many advertisers that they’re finding improved
19
           cost per conversion efficiencies with the tool, meaning that more of their marketing
20
           budgets can be effectively deployed online, on your sites.”
21
           41.   What Google blatantly disregarded, and what Neil emphasized prior to and
22
     during the meetings, was that on April 13, 2005, Impact Engine filed U.S. provisional
23
     application No. 60/671,170, which eventually issued as the first of the Patents-in-Suit
24
     discussed below.
25
           42.   With the release of Google’s first iteration of the accused products, Google
26
     began offering Impact Engine’s patented systems and methods to the public. Impact
27
     Engine could not compete with Google’s infringing systems and methods.
28

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1
           43.    It was one of Impact Engine’s express, written goals to re-invest capital from
2
     the success of its inventions. These goals included expand operations at its San Diego
3
     headquarters and globally, create thousands of jobs, offer the company’s shares on the
4
     NASDAQ, and deliver significant economic impact to communities in the surrounding
5
     region. Google, under the false pretense of a trusting partnership, took Impact Engine’s
6
     intellectual property and products. Google’s brazen, willful infringement has deprived the
7
     promising company of its ability to achieve this goal.
8
           44.    Over the past decade, Impact Engine has continued to serve publishers in the
9
     newspaper, television, and radio industries throughout the United States, including such
10
     well-known media brands as the San Diego Union Tribune and 91x.
11
                                     THE PATENTS-IN-SUIT
12
           45.    On January 11, 2011, the United States Patent and Trademark Office (“PTO”)
13
     duly and legally issued U.S. Patent No. 7,870,497 (the “’497 patent”), entitled “Multimedia
14
     Communication System and Method.” A true and accurate copy of the ’497 patent is
15
     attached hereto as Ex. 1.
16
           46.    On January 15, 2013, the PTO duly and legally issued U.S. Patent No.
17
     8,356,253 (the “’6,253 patent”), entitled “Multimedia Communication System and
18
     Method.” A true and accurate copy of the ’6,253 patent is attached hereto as Ex. 2.
19
           47.    On January 6, 2015, the PTO duly and legally issued U.S. Patent No.
20
     8,930,832 (the “’832 patent”), entitled “Multimedia Communication System and Method.”
21
     A true and accurate copy of the ’832 patent is attached hereto as Ex. 3.
22
           48.    On June 7, 2016, the PTO duly and legally issued U.S. Patent No. 9,361,632
23
     (the “’632 patent”), entitled “Multimedia Communication System and Method.” A true
24
     and accurate copy of the ’632 patent is attached hereto as Ex. 4.
25
           49.    On October 31, 2017, the PTO duly and legally issued U.S. Patent No.
26
     9,805,393 (the “’393 patent”), entitled “Multimedia Communication System and Method.”
27
     A true and accurate copy of the ’393 patent is attached hereto as Ex. 5.
28

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1
           50.    On September 4, 2018, the PTO duly and legally issued U.S. Patent No.
2
     10,068,253 (the “’8,253 patent”), entitled “Multimedia Communication System and
3
     Method.” A true and accurate copy of the ’8,253 patent is attached hereto as Ex. 6.
4
                    IMPACT ENGINE’S INNOVATIONS AND PATENTS
5
           51.    Prior to the inventions described in the patents-in-suit, display advertisements
6
     were created from scratch each time for each and every ad version and size variation. In
7
     practice and efficacy, online display ads were no different than print display ads.
8
     Advertising content in the online display ads was static. Specifically, each display ad
9
     needed to be rendered and downloaded in its entirety for each ad viewer and each visit to
10
     the website. This created an excessive use of available internet bandwidth and degraded
11
     the ad viewer experience at the website. Further, there was no economically viable ability
12
     to tailor the display ad to the preferences of an individual ad viewer. The end result was
13
     that display ad campaigns quickly became irrelevant and their return on investment was
14
     often low or negative. Due to the time and expense in creating these ads, these campaigns
15
     were dreaded by both advertisers and ad viewers alike.
16
           52.    Prior to Impact Engine’s innovations, “development of a communication
17
     piece such as a presentation, banner advertisement, website or brochure, whether static or
18
     dynamically employing multimedia, [was] usually contracted out to a professional graphic
19
     designer. Such professional [was] typically part of a professional agency, such as an
20
     advertisement agency, which [were] usually cost-prohibitive for small enterprises (i.e. sole
21
     proprietor or small business), and [could] be unnecessarily costly for larger enterprises.
22
     These agents or agencies consume large amounts of resources, in time and/or money
23
     particularly, for creating a media-rich communication, such as a website, an e-mail
24
     campaign, a banner advertisement, or other communication. Accordingly, a system and
25
     method which automates the process of creating and distributing professional quality,
26
     media rich communications [was] needed.” (’497 Patent at 1:12-26).
27
28

                                                  14
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1
           53.    The Patents-in-Suit describe and claim revolutionary systems and methods for
2
     easily creating display ads that can be modified frequently and broadcast without extensive
3
     use of internet bandwidth resources. These modifications can be based on inputs from
4
     users and distributed to the viewing audience. These advertisements can be modified by
5
     users without having to stop the ad campaign or take down the ad to make updates. In
6
     revolutionary fashion, these modifications appear in the ads within a short period of time.
7
     With the benefit of these systems and methods, advertising communication templates are
8
     available to receive inputs from data sources (e.g., keywords and data) and be customized
9
     with media-rich assets (e.g., words, images, and videos) to create an advertisement
10
     uniquely tailored to each ad viewer in a format compatible with whatever device the ad
11
     viewer happens to be on.
12
           54.    The Patents-in-Suit specifically include claims to a database and a server,
13
     which server includes discrete processing elements that are specifically programmed to
14
     carry out the functions recited in the claims. As such, the claimed invention is directed to
15
     specific and novel systems or methods including machines configured for specific purposes
16
     that implement discrete processes for generating and broadcasting online advertisements.
17
     The claims are directed toward novel improvements in the functioning of a technological
18
     system (e.g., a server-side online advertisement generation system). This server-side
19
     functionality was not practiced at the time of the applicant’s filing. Instead, display
20
     advertisements at that time were generated only with extensive manual effort and the
21
     involvement of multiple individuals. Advertisements were constructed by a user, usually
22
     one or several highly specialized designers working in the advertising industry with a cross
23
     functional background in computer science and multimedia arts, who assembled the
24
     display advertisement from scratch based only on known, identified, and campaign-
25
     specific data for only that one ad and its size variations. As such, the usefulness of these
26
     display advertisements was limited by the particular campaign and moment in time for
27
     which they were built. These advertisements were not dynamic and were very difficult to
28

                                                 15
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1
     re-utilize. Once compiled, these advertisements represented the sole collection of available
2
     advertisements that could be sent to potential ad viewers and the entire viewing audience
3
     received the same display ad without regard to their unique characteristics and preferences.
4
     After the campaign had run its course, or the advertisements needed to be changed, the
5
     whole process would have to be repeated from scratch.
6
           55.     The Patents-in-Suit claim dynamic advertisement generation that is ad viewer
7
     specific such that content can change often based on each ad viewers’ evolving preferences,
8
     rather than one ad made for every ad viewer. Moreover, even though they may be relatively
9
     ubiquitous now, the recited project builder and/or project viewer used for the building of
10
     the claimed advertisements were not routine computer functionalities. The inventions
11
     claimed in the Patents-in-Suit made a design career specializing in creating and managing
12
     exciting media-rich display advertisements available to a much wider workforce
13
     population, in turn creating new jobs. The phenomenon created by Impact Engine’s
14
     inventions also freed up high-priced, cross-functional designers to work on more suitable
15
     assignments, some in furtherance of industry innovation. And the “Impact Effect” of
16
     simultaneous, radical operational cost reduction, optimized utilization of workforce
17
     resources, and, most importantly, satisfied ad viewers was, and is still, widely felt by
18
     advertisers, designers, website publishers, and ad agencies here in the United States and
19
     worldwide.     Accordingly, the claims of the Patents-in-Suit embody an improvement to
20
     the claimed computer-implemented process that is both palpable and functional.
21
                                     ACCUSED PRODUCTS
22
           56.     Google provides and has provided many products and services that infringe
23
     the Patents-in-Suit, including through the use thereof. The Accused Products in this case
24
     include Google Ads, Google AdWords, Google Display Ad Builder, Google AdSense,
25
     Google Doubleclick, Google Marketing Platform, Google Web Designer, Google Display
26
     Network, as well as any other iterations of these products (collectively the “Accused
27
     Products”).
28

                                                 16
     Case 3:19-cv-01301-CAB-DEB Document 1 Filed 07/15/19 PageID.17 Page 17 of 28



1                                     FIRST CAUSE OF ACTION
2                           Infringement of the ’497 Patent by Google
3
           57.    Impact Engine realleges and incorporates each of the allegations above as
4
     though fully set forth herein.
5
           58.    Google’s products and/or services that infringe the ’497 Patent include, but
6
     are not limited to, the Accused Products and use thereof.
7
           59.    Google makes, uses, sells, offers for sale, and/or imports the Accused
8
     Products and components thereof in the United States.
9
           60.    Google directly infringes — literally and/or under the doctrine of equivalents
10
     — at least the claims set forth in Ex. 7 attached to this complaint by making, using, selling,
11
     offering for sale, and/or importing into the United States its Accused Products and
12
     components thereof and exporting out of the United States its Accused Products and
13
     components thereof. See e.g., WesternGeco LLC v. ION Geophysical Corp., 138 S.Ct.
14
     2129 (2018).
15
           61.    Google has been aware of the patent application that issued as the ’497 Patent
16
     since at least 2006. Further, Google has been aware of the ’497 Patent since it issued on
17
     January 11, 2011.
18
           62.    Google knowingly induces infringement of the ’497 Patent, including at least
19
     the claims set forth in Ex. 7 by customers and end-users of the Accused Products with
20
     specific intent to induce infringement, and/or with willful blindness to the possibility that
21
     its acts induce infringement, through activities relating to selling, marketing, advertising,
22
     promotion, support, and distribution of the Accused Products in the United States and
23
     abroad. As such, Google has violated 35 U.S.C. § 271(b).
24
           63.    Google contributes to infringement of the ’497 Patent, including at least the
25
     claims set forth in Ex. 7, as provided in 35 U.S.C. § 271(c) by offering to sell, selling,
26
     importing into the United States, or exporting out of the United States one or more
27
     components that are a material part of the claimed inventions of the ’497 Patent and that
28

                                                  17
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1
     have no substantial non-infringing use with knowledge that such components are especially
2
     made or adapted for use in infringing the ’497 Patent. Such sold, offered for sale, imported,
3
     and/or exported components include the Accused Products and components thereof.
4
           64.    Google’s infringement of the ’497 Patent is without license or other
5
     authorization.
6
           65.    Because Google had knowledge of the ’497 Patent rights and proceeded to
7
     directly and indirectly infringe, Google’s infringement is willful.
8
           66.    Google’s continued infringement of the ’497 Patent has damaged and will
9
     continue to damage Impact Engine in the amount to be proven at trial.
10
           67.    Unless and until enjoined by this Court, Google will continue to directly
11
     infringe as well as induce and contribute to infringement of the ’497 Patent. Google’s
12
     infringing acts are causing and will continue to cause Impact Engine irreparable harm, for
13
     which there is no adequate remedy at law. Under 35 U.S.C. § 283, Impact Engine is entitled
14
     to a permanent injunction against further infringement.
15
                                  SECOND CAUSE OF ACTION
16
                           Infringement of the ’6,253 Patent by Google
17
18         68.    Impact Engine realleges and incorporates each of the allegations above as
19   though fully set forth herein.
20         69.    Google’s products and/or services that infringe the ’6,253 Patent include, but
21   are not limited to, the Accused Products and use thereof.
22         70.    Google makes, uses, sells, offers for sale, and/or imports the Accused
23   Products and components thereof in the United States.
24         71.    Google directly infringes — literally and/or under the doctrine of equivalents
25   — at least the claims set forth in Ex. 8 attached to this complaint by making, using, selling,
26   offering for sale, and/or importing into the United States its Accused Products and
27   components thereof and exporting out of the United States its Accused Products and
28

                                                  18
     Case 3:19-cv-01301-CAB-DEB Document 1 Filed 07/15/19 PageID.19 Page 19 of 28



1
     components thereof. See e.g., WesternGeco LLC v. ION Geophysical Corp., 138 S.Ct.
2
     2129 (2018).
3
           72.    Google has been aware of the patent application that issued as the ’497 Patent
4
     since at least 2006. Further, Google has been aware of the ’497 Patent since it issued on
5
     January 11, 2011. The ’6,253 Patent is a continuation of the ’497 Patent. Upon information
6
     and belief, Google has been aware of the patent application that issued as the ’6,253 Patent
7
     since it was filed on January 11, 2011. Further, Google has been aware of the ’6,253 Patent
8
     since it issued on January 15, 2013.
9
           73.    Google knowingly induces infringement of the ’6,253 Patent, including at
10
     least the claims set forth in Ex. 8 by customers and end-users of the Accused Products with
11
     specific intent to induce infringement, and/or with willful blindness to the possibility that
12
     its acts induce infringement, through activities relating to selling, marketing, advertising,
13
     promotion, support, and distribution of the Accused Products in the United States and
14
     abroad. As such, Google has violated 35 U.S.C. § 271(b).
15
           74.    Google contributes to infringement of the ’6,253 Patent, including at least the
16
     claims set forth in Ex. 8, as provided in 35 U.S.C. § 271(c) by offering to sell, selling,
17
     importing into the United States, or exporting out of the United States one or more
18
     components that are a material part of the claimed inventions of the ’6,253 Patent and that
19
     have no substantial non-infringing use with knowledge that such components are especially
20
     made or adapted for use in infringing the ’6,253 Patent. Such sold, offered for sale,
21
     imported, and/or exported components include the Accused Products and components
22
     thereof.
23
           75.    Google’s infringement of the ’6,253 Patent is without license or other
24
     authorization.
25
           76.    Because Google had knowledge of the ’6,253 Patent rights and proceeded to
26
     directly and indirectly infringe, Google’s infringement is willful.
27
28

                                                  19
     Case 3:19-cv-01301-CAB-DEB Document 1 Filed 07/15/19 PageID.20 Page 20 of 28



1
           77.    Google’s continued infringement of the ’6,253 Patent has damaged and will
2
     continue to damage Impact Engine in the amount to be proven at trial.
3
           78.    Unless and until enjoined by this Court, Google will continue to directly
4
     infringe as well as induce and contribute to infringement of the ’6,253 Patent. Google’s
5
     infringing acts are causing and will continue to cause Impact Engine irreparable harm, for
6
     which there is no adequate remedy at law. Under 35 U.S.C. § 283, Impact Engine is entitled
7
     to a permanent injunction against further infringement.
8
                                      THIRD CAUSE OF ACTION
9
                            Infringement of the ’832 Patent by Google
10
11         79.    Impact Engine realleges and incorporates each of the allegations above as
12   though fully set forth herein.
13         80.    Google’s products and/or services that infringe the ’832 Patent include, but
14   are not limited to, the Accused Products and use thereof.
15         81.    Google makes, uses, sells, offers for sale, and/or imports the Accused
16   Products and components thereof in the United States.
17         82.    Google directly infringes — literally and/or under the doctrine of equivalents
18   — at least the claims set forth in Ex. 9 attached to this complaint by making, using, selling,
19   offering for sale, and/or importing into the United States its Accused Products and
20   components thereof and exporting out of the United States its Accused Products and
21   components thereof. See e.g., WesternGeco LLC v. ION Geophysical Corp., 138 S.Ct.
22   2129 (2018).
23         83.    Google has been aware of the patent application that issued as the ’497 Patent
24   since at least 2006. Further, Google has been aware of the ’497 Patent since it issued on
25   January 11, 2011. The ’832 Patent is a continuation of the ’497 Patent. Upon information
26   and belief, Google has been aware of the patent application that issued as the ’832 Patent
27   since it was filed on January 14, 2013. Further, Google has been aware of the ’832 Patent
28   since it issued on January 15, 2015.

                                                  20
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1
           84.    Google knowingly induces infringement of the ’832 Patent, including at least
2
     the claims set forth in Ex. 9 by customers and end-users of the Accused Products with
3
     specific intent to induce infringement, and/or with willful blindness to the possibility that
4
     its acts induce infringement, through activities relating to selling, marketing, advertising,
5
     promotion, support, and distribution of the Accused Products in the United States and
6
     abroad. As such, Google has violated 35 U.S.C. § 271(b).
7
           85.    Google contributes to infringement of the ’832 Patent, including at least the
8
     claims set forth in Ex. 9, as provided in 35 U.S.C. § 271(c) by offering to sell, selling,
9
     importing into the United States, or exporting out of the United States one or more
10
     components that are a material part of the claimed inventions of the ’832 Patent and that
11
     have no substantial non-infringing use with knowledge that such components are especially
12
     made or adapted for use in infringing the ’832 Patent. Such sold, offered for sale, imported,
13
     and/or exported components include the Accused Products and components thereof.
14
           86.    Google’s infringement of the ’832 Patent is without license or other
15
     authorization.
16
           87.    Because Google had knowledge of the ’832 Patent rights and proceeded to
17
     directly and indirectly infringe, Google’s infringement is willful.
18
           88.    Google’s continued infringement of the ’832 Patent has damaged and will
19
     continue to damage Impact Engine in the amount to be proven at trial.
20
           89.    Unless and until enjoined by this Court, Google will continue to directly
21
     infringe as well as induce and contribute to infringement of the ’832 Patent. Google’s
22
     infringing acts are causing and will continue to cause Impact Engine irreparable harm, for
23
     which there is no adequate remedy at law. Under 35 U.S.C. § 283, Impact Engine is entitled
24
     to a permanent injunction against further infringement.
25
                                 FOURTH CAUSE OF ACTION
26
                            Infringement of the ’632 Patent by Google
27
28

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     Case 3:19-cv-01301-CAB-DEB Document 1 Filed 07/15/19 PageID.22 Page 22 of 28



1
           90.    Impact Engine realleges and incorporates each of the allegations above as
2
     though fully set forth herein.
3
           91.    Google’s products and/or services that infringe the ’632 Patent include, but
4
     are not limited to, the Accused Products and use thereof.
5
           92.    Google makes, uses, sells, offers for sale, and/or imports the Accused
6
     Products and components thereof in the United States.
7
           93.    Google directly infringes — literally and/or under the doctrine of equivalents
8
     — at least the claims set forth in Ex. 10 attached to this complaint by making, using, selling,
9
     offering for sale, and/or importing into the United States its Accused Products and
10
     components thereof and exporting out of the United States its Accused Products and
11
     components thereof. See e.g., WesternGeco LLC v. ION Geophysical Corp., 138 S.Ct.
12
     2129 (2018).
13
           94.    Google has been aware of the patent application that issued as the ’497 Patent
14
     since at least 2006. Further, Google has been aware of the ’497 Patent since it issued on
15
     January 11, 2011. The ’632 Patent is a continuation of the ’497 Patent. Upon information
16
     and belief, Google has been aware of the patent application that issued as the ’632 Patent
17
     since it was filed on January 6, 2015. Further, Google has been aware of the ’632 Patent
18
     since it issued on June 7, 2016.
19
           95.    Google knowingly induces infringement of the ’632 Patent, including at least
20
     the claims set forth in Ex. 10 by customers and end-users of the Accused Products with
21
     specific intent to induce infringement, and/or with willful blindness to the possibility that
22
     its acts induce infringement, through activities relating to selling, marketing, advertising,
23
     promotion, support, and distribution of the Accused Products in the United States and
24
     abroad. As such, Google has violated 35 U.S.C. § 271(b).
25
           96.    Google contributes to infringement of the ’632 Patent, including at least the
26
     claims set forth in Ex. 10, as provided in 35 U.S.C. § 271(c) by offering to sell, selling,
27
     importing into the United States, or exporting out of the United States one or more
28

                                                   22
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1
     components that are a material part of the claimed inventions of the ’632 Patent and that
2
     have no substantial non-infringing use with knowledge that such components are especially
3
     made or adapted for use in infringing the ’632 Patent. Such sold, offered for sale, imported,
4
     and/or exported components include the Accused Products and components thereof.
5
           97.    Google’s infringement of the ’632 Patent is without license or other
6
     authorization.
7
           98.    Because Google had knowledge of the ’632 Patent rights and proceeded to
8
     directly and indirectly infringe, Google’s infringement is willful.
9
           99.    Google’s continued infringement of the ’632 Patent has damaged and will
10
     continue to damage Impact Engine in the amount to be proven at trial.
11
           100. Unless and until enjoined by this Court, Google will continue to directly
12
     infringe as well as induce and contribute to infringement of the ’632 Patent. Google’s
13
     infringing acts are causing and will continue to cause Impact Engine irreparable harm, for
14
     which there is no adequate remedy at law. Under 35 U.S.C. § 283, Impact Engine is entitled
15
     to a permanent injunction against further infringement.
16
                                      FIFTH CAUSE OF ACTION
17
                            Infringement of the ’393 Patent by Google
18
19         101. Impact Engine realleges and incorporates each of the allegations above as
20   though fully set forth herein.
21         102. Google’s products and/or services that infringe the ’393 Patent include, but
22   are not limited to, the Accused Products and use thereof.
23         103. Google makes, uses, sells, offers for sale, and/or imports the Accused
24   Products and components thereof in the United States.
25         104. Google directly infringes — literally and/or under the doctrine of equivalents
26   — at least the claims set forth in Ex. 11 attached to this complaint by making, using, selling,
27   offering for sale, and/or importing into the United States its Accused Products and
28   components thereof and exporting out of the United States its Accused Products and

                                                   23
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1
     components thereof. See e.g., WesternGeco LLC v. ION Geophysical Corp., 138 S.Ct.
2
     2129 (2018).
3
           105. Google has been aware of the patent application that issued as the ’497 Patent
4
     since at least 2006. Further, Google has been aware of the ’497 Patent since it issued on
5
     January 11, 2011. The ’393 Patent is a continuation of the ’497 Patent. Upon information
6
     and belief, Google has been aware of the patent application that issued as the ’393 Patent
7
     since it was filed on June 6, 2016. Further, Google has been aware of the ’393 Patent since
8
     it issued on October 31, 2017.
9
           106. Google knowingly induces infringement of the ’393 Patent, including at least
10
     the claims set forth in Ex. 11 by customers and end-users of the Accused Products with
11
     specific intent to induce infringement, and/or with willful blindness to the possibility that
12
     its acts induce infringement, through activities relating to selling, marketing, advertising,
13
     promotion, support, and distribution of the Accused Products in the United States and
14
     abroad. As such, Google has violated 35 U.S.C. § 271(b).
15
           107. Google contributes to infringement of the ’393 Patent, including at least the
16
     claims set forth in Ex. 11, as provided in 35 U.S.C. § 271(c) by offering to sell, selling,
17
     importing into the United States, or exporting out of the United States one or more
18
     components that are a material part of the claimed inventions of the ’393 Patent and that
19
     have no substantial non-infringing use with knowledge that such components are especially
20
     made or adapted for use in infringing the ’393 Patent. Such sold, offered for sale, imported,
21
     and/or exported components include the Accused Products and components thereof.
22
           108. Google’s infringement of the ’393 Patent is without license or other
23
     authorization.
24
           109. Because Google had knowledge of the ’393 Patent rights and proceeded to
25
     directly and indirectly infringe, Google’s infringement is willful.
26
           110. Google’s continued infringement of the ’393 Patent has damaged and will
27
     continue to damage Impact Engine in the amount to be proven at trial.
28

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     Case 3:19-cv-01301-CAB-DEB Document 1 Filed 07/15/19 PageID.25 Page 25 of 28



1
           111. Unless and until enjoined by this Court, Google will continue to directly
2
     infringe as well as induce and contribute to infringement of the ’393 Patent. Google’s
3
     infringing acts are causing and will continue to cause Impact Engine irreparable harm, for
4
     which there is no adequate remedy at law. Under 35 U.S.C. § 283, Impact Engine is entitled
5
     to a permanent injunction against further infringement.
6
                                      SIXTH CAUSE OF ACTION
7
                           Infringement of the ’8,253 Patent by Google
8
9          112. Impact Engine realleges and incorporates each of the allegations above as
10   though fully set forth herein.
11         113. Google’s products and/or services that infringe the ’8,253 Patent include, but
12   are not limited to, the Accused Products and use thereof.
13         114. Google makes, uses, sells, offers for sale, and/or imports the Accused
14   Products and components thereof in the United States.
15         115. Google directly infringes — literally and/or under the doctrine of equivalents
16   — at least the claims set forth in Ex. 12 attached to this complaint by making, using, selling,
17   offering for sale, and/or importing into the United States its Accused Products and
18   components thereof and exporting out of the United States its Accused Products and
19   components thereof. See e.g., WesternGeco LLC v. ION Geophysical Corp., 138 S.Ct.
20   2129 (2018).
21         116. Google has been aware of the patent application that issued as the ’497 Patent
22   since at least 2006. Further, Google has been aware of the ’497 Patent since it issued on
23   January 11, 2011. The ’8,253 Patent is a continuation of the ’497 Patent. Upon information
24   and belief, Google has been aware of the patent application that issued as the ’8,253 Patent
25   since it was filed on October 26, 2017. Further, Google has been aware of the ’8,253 Patent
26   since it issued on September 4, 2018.
27         117. Google knowingly induces infringement of the ’8,253 Patent, including at
28   least the claims set forth in Ex. 12 by customers and end-users of the Accused Products

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1
     with specific intent to induce infringement, and/or with willful blindness to the possibility
2
     that its acts induce infringement, through activities relating to selling, marketing,
3
     advertising, promotion, support, and distribution of the Accused Products in the United
4
     States and abroad. As such, Google has violated 35 U.S.C. § 271(b).
5
              118. Google contributes to infringement of the ’8,253 Patent, including at least the
6
     claims set forth in Ex. 12, as provided in 35 U.S.C. § 271(c) by offering to sell, selling,
7
     importing into the United States, or exporting out of the United States one or more
8
     components that are a material part of the claimed inventions of the ’8,253 Patent and that
9
     have no substantial non-infringing use with knowledge that such components are especially
10
     made or adapted for use in infringing the ’8,253 Patent. Such sold, offered for sale,
11
     imported, and/or exported components include the Accused Products and components
12
     thereof.
13
              119. Google’s infringement of the ’8,253 Patent is without license or other
14
     authorization.
15
              120. Because Google had knowledge of the ’8,253 Patent rights and proceeded to
16
     directly and indirectly infringe, Google’s infringement is willful.
17
              121. Google’s continued infringement of the ’8,253 Patent has damaged and will
18
     continue to damage Impact Engine in the amount to be proven at trial.
19
              122. Unless and until enjoined by this Court, Google will continue to directly
20
     infringe as well as induce and contribute to infringement of the ’8,253 Patent. Google’s
21
     infringing acts are causing and will continue to cause Impact Engine irreparable harm, for
22
     which there is no adequate remedy at law. Under 35 U.S.C. § 283, Impact Engine is entitled
23
     to a permanent injunction against further infringement.
24
                                    DEMAND FOR JURY TRIAL
25
              123. Impact Engine respectfully requests a jury trial on any issues so triable by
26
     right.
27
                                       PRAYER FOR RELIEF
28

                                                   26
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1
           124. WHEREFORE, Impact Engine respectfully requests that this Court enter
2
     judgment in its favor and grant the following relief:
3            A. A judgment that Google directly infringes and induces and contributes to the
                 infringement of the Patents-in-Suit;
4
               B. A judgment and order requiring Google to pay Impact Engine damages in an
5                 amount adequate to compensate Impact Engine for Google’s infringement of
                  the Patents-in-Suit, but in no event less than a reasonable royalty under 35
6                 U.S.C. § 284;
7              C. A judgment that Google’s infringement of the Patents-in-Suit was and
                  continues to be willful;
8
               D. A judgment and order requiring Google to pay Impact Engine the prejudgment
9                 and post-judgment interest to the fullest extent allowed under the law, as well
                  as its costs;
10
               E. A permanent injunction enjoining Google, and all others in active concert with
11                Google, from infringement of the Patents-in-Suit;
12             F. An order finding that this is an exceptional case and awarding Impact Engine
                  its reasonable attorneys’ fees pursuant to 35 U.S.C. § 285; and
13
               G. Such other relief as the Court may deem appropriate and just under the
14                circumstances.
15   Dated: July 15, 2019                     Respectfully submitted,
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17
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